Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 1 of 42 PageID: 1


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 NEWTON S. DUARTE
                                                   CIVIL ACTION NO.
                Plaintiff,
                                                                      Civil Action
                v.

 OCWEN LOAN SERVICING, LLC AND
 DEUTSCHE BANK NATIONAL TRUST
 COMPANY AS TRUSTEE FOR INDYMAC
 INDX MORTGAGE LOAN TRUST 2005-
 AR18 MORTGAGE PASS-THROUGH
 CERTIFICATES SERIES 2005-AR18,

                Defendants.


                                        COMPLAINT

       Plaintiff, Newton S. Duarte, by and through his undersigned counsel, hereby submit this

Amended Complaint against Defendants, and in support thereof, states as follows:

                                           PARTIES

       1.     Plaintiff, Newton S. Duarte, is an individual who currently resides in the State of

New Jersey, at 24 Brusler Place Somerset NJ 08873.

       2.     Upon information and belief, Defendant Ocwen Loan Servicing LLC (Ocwen) is a

company organized and existing pursuant to the rules and laws of Florida with its principal place

of business located at 1661 Worthington Rd #100, West Palm Beach, FL 33409.

       3.     Upon information and belief, Defendants Deutsche Bank National Trust Company

as Trustee for IndyMac INDX Mortgage Loan Trust 2005-AR18 Mortgage Pass-Through

Certificates Series 2005-AR18 is a company organized and existing pursuant to the rules and laws




                                               1
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 2 of 42 PageID: 2




of the State of California with its principal place of business located at 1761 E. ST. ANDREWS

PLACE, SANTA ANA, CA 92705.

                                   JURISDICTION and VENUE

        4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331, as this

matter involves federal claims arising under federal law, thereby invoking the Court’s federal

question jurisdiction.

        5.      This Court has personal jurisdiction over Defendants, as Defendants have had the

requisite minimum contacts with the State of New Jersey and Defendants have and continue to

regularly conduct business in the State of New Jersey.

        6.      This Court has supplemental jurisdiction over Defendants pursuant to 28 U.S. Code

§ 1367 for all state claims.

        7.      Venue lies in the United States District Court for the District of New Jersey, as a

substantial part of the property that is the subject of this action is located in the State of New Jersey.

        8.      Further, venue lies in the United States District Court for the District of New Jersey,

as a substantial part of the events or omissions upon which Plaintiff’ claims are based has occurred

in the State of New Jersey.

                               FACTS COMMON TO ALL COUNTS

        1.      At all material and relevant hereto, Plaintiff is a consumer according to Title 15

U.S.C. §1692(a)(3) and is identified under§ l 692e as a "least sophisticated consumer" or even

possibly the "least susceptible consumer" under §1692(f) according to the act.




                                                    2
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 3 of 42 PageID: 3




       2.     At all times material and relevant hereto, Plaintiff is alleged to have owed a

"debt" ("transaction") of a personal, family, and/or household nature as defined by the FDCPA,

Title 15 U.S.C. §1692a(5).

       3.     Defendants engage in false and misleading documentation as further discussed.

       4. INDYMAC INDX MORTGAGE LOAN TRUST 2005-AR18 filed with alleged

claims to enforce rights of to foreclose being made by Deutsche Bank National Trust

Company, assignee Deutsche Bank National Trust Company As Indenture Trustee. regularly

extended or offered to extend consumer credit for which a finance charge is or may be

imposed or which, by written agreement, is payable in more than four installments, and is the

person to whom the transaction which is the subject of this action was initially payable,

making Deutsche Bank National Trust Company as Trustee, a creditor within the meaning of

Truth in Lending Act. 5 U.S.C. 7 1602(t) and Regulation Z 7 226.2(a)(l 7) and/or Truth in

Lending Act (TILA) 15 USC rl635(a) and (b) and 12 CFR r226.23(b) and/or debt collector

pursuant to The Fair Debt Collection Practices Act at 15 U.S. Code § l 692e - False or

misleading representations and Securities Transaction pursuant to U.S.C. Title 15 Chapter 2B,

Sec. 78ff, and documents requiring substantial proof of claim to support enforcement pursuant

to 5 U.S C. 556(d) 5 U.S C. 556(d).

       5. The original lender, as stated on the Note and Mortgage, was IndyMac Bank FSB

(hereafter “IndyMac”), which was closed by the Office of Thrift Supervision (OTS) on July 11,

                                              3
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 4 of 42 PageID: 4




2008 at which time the Federal Deposit Insurance Corporation (FDIC) was appointed Conservator

of the failed IndyMac.

        6. The Court may take judicial notice of these facts pursuant to NJRE 201(b)(3) as they are

specific facts which are capable of immediate determination by resort to sources (the FDIC) whose

accuracy cannot be questioned (see. www.fdic.gov/bank/individual/failed/indymac.html).

        7. Defendants claim that the mortgagee, that being an entity denominated as Mortgage

Electronic Registration Systems, Inc. (hereafter “MERS”) assigned all of “its” rights, title and

interest in and to the Note and Mortgage to an entity known as OneWest Bank FSB (hereafter

“OWB”) on August 12, 2009.

        8. It is without issue that MERS was not the lender and does not own, originate, or hold

promissory notes, and as such, MERS could not have transferred any interest in the Note to OWB

as it had no such interest to transfer.

        9. Defendants claimed that on November 29, 2010, OWB assigned its right, title and

interest in and to the Note and Mortgage to Deutsche Bank National Trust Company as Trustee of

the IndyMac INDX Mortgage Loan Trust 2005-AR18 Mortgage Pass-Through Certificates Series

2005-AR18 Under the Pooling and Servicing Agreement dated as of September 1, 2005. (Deutsche

Bank National Trust Company as Trustee, etc. will be referred to as “DBTE”).




                                                 4
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 5 of 42 PageID: 5




       10.     he alleged transfer is a factual and legal impossibility, as OWB never acquired any

interest in the Note from MERS as MERS never had any interest in the Note to transfer ab initio.

       11.     Defendants admitted that the loan was the subject of a mortgage loan securitization.

       12.     Although the loan documents provide generic language that “your loan may be

sold”, this “disclosure” is both incomplete and misleading, and does not contain the necessary facts

to have placed Plaintiff on notice that his loan would be transferred from a regulated mortgage

lender (IndyMac, which was a Federal Savings Bank) to an unregulated private equity investment

concern (the securitization Trust of which DBTE claims to be the “trustee”).

       13.     Assuming the alleged transfer of the loan to the Trust took place, the transfer

resulted in a unilateral modification of the Federally-regulated residential mortgage loan contract

into an unregulated commercial investment transaction involving a private equity investment

concern and not a Federally-regulated mortgage lender, which Plaintiff never consented to and

was never informed of.

       14.     The Note obligation of a mortgage loan sold to a securitization Trust is paid in full

upon such sale. The servicer for the Trust thereafter creates a phantom obligation by which the

borrower is to make payments “under the Note” despite the Note obligation having been liquidated

upon sale thereof to the Trust. The cash flow stream from the monthly payments made as a result

of the phantom obligation is used to pay the “Trustee” investment bank (here, DBTE), the investors


                                                 5
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 6 of 42 PageID: 6




in the mortgage-backed securities (MBS) collateralized by the Trust, and the expenses of

maintaining the Trust.

        15.     No disclosure of these facts are ever made to the borrower, and the “Your loan may

be sold” language in the mortgage documents is an incomplete and misleading statement, as it does

not accurately state that upon such sale to the trust, the obligation under the Note is paid and that

a new obligation to pay third parties who were not the “lender” will be created, nor is it disclosed

to the borrower that what was a residential mortgage loan transaction governed and protected by

the Federal government and Federal lending laws will be converted into an unregulated and

unprotected private equity investment vehicle.

        16.     Although the mortgage loan documents claimed that the mortgage loan could be

sold, the presumption and understanding of Plaintiff, as a non-banker and non-lender, was that any

such sale would be to another Federally-regulated residential mortgage lender in order that the

loan retain its character as a Federally-regulated residential mortgage loan and that benefits of such

a loan, such as the ability to refinance, modify or restructure the loan, and the ability to deal directly

with the lender, would be preserved and maintained.

        17.     Plaintiff was never advised that the loan could be sold to a non-regulated private

equity or commercial investment entity, or for the purpose of funding numerous non-parties to the

mortgage loan transaction.


                                                    6
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 7 of 42 PageID: 7




       18.     The alleged residential mortgage loan was unilaterally modified by which the

obligation evidenced by the promissory note was converted to a vehicle for the purpose of

providing an income stream to fund a commercial investment for the benefit of non-parties to the

“loan”, thus unilaterally modifying the Note contract and changing the essential character of the

loan without any disclosure to or consent of Plaintiff.

       19.     These facts, which were known to Defendants at all times material, were

intentionally withheld from Plaintiff in order to induce Plaintiff to make payments on the loan;

subordinate his interest in the Property; and for the purpose of manufacturing a foreclosure on a

unilaterally modified contract.

       20.     By converting the residential mortgage loan transaction into a commercial

investment vehicle, Defendants, with the assistance of MERS, effected a unilateral modification

of the mortgage loan contract, and has made itself a party to the mortgage loan contract without

the consent of Plaintiff; without any prior notice to Plaintiff; and without any new consideration

to Plaintiff where Defendants’ actions (a) eliminated Plaintiff’s rights under Federal lending laws

(as such rights to not apply to unregulated securitization trusts); (b) imposed third-party

“servicers”; and (c) eliminated Plaintiff’s ability to deal directly with the true and actual lender.




                                                  7
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 8 of 42 PageID: 8




       21.     Plaintiff never consented to the Trust, which is a private equity investment entity

and is not a Federally-regulated residential mortgage lender, becoming a party to his residential

mortgage loan contract or modifying it to convert it into a commercial investment vehicle.

       22.     At all times material, Defendants had actual knowledge that it intended to convert

the residential mortgage loan into a commercial investment vehicle for the purpose of providing a

revenue stream, together with hundreds of other alleged “residential” mortgage loans, to fund

numerous non-residential mortgage loan transactions, including but not limited to:

               a.      payment to the securitization Trustee (DBTE);

               b.      payment to the Master Servicer;

               c.      payment to the subservicer;

               d.      payment of “expenses” of the securitization Trust; and, if any monies

                       remained after payment of these expenses, and

               e.      payment to the investors in the MBS.

       23.     Defendants intentionally failed to disclose these material facts to Plaintiff, doing to

in order to induce him to continue making payments on the loan and for purposes of manufacturing

a foreclosure on an otherwise illegally unilaterally modified contract.

       24.     Once so converted, the Note was pooled with thousands of other loans for the

purpose of providing partial collateral security in connection with the issuance of the MBS,

resulting in the loan not being owned by any single party and with the rights to the income stream

from the loan being purchased and claimed by multiple parties including those identified above.


                                                 8
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 9 of 42 PageID: 9




        25.     This had a negative effect on Plaintiff, and this material change in the character of

the loan, which was known to Defendants at all times material, was never disclosed to Plaintiff

and was intentionally withheld from him in order to induce him to make payments on the loan;

subordinate his interest in the Property; and for purposes of manufacturing a foreclosure on an

otherwise illegally unilaterally modified contract.

        26.     The change in the essential character of the loan from what was represented to be a

residential mortgage loan to a commercial investment eliminated benefits associated with

Federally-regulated mortgage loans and lenders thereof, including the ability to refinance; the

ability to restructure the loan; and the ability to deal directly with the actual lender.

        27.     These facts, which were known at all times material to Defendants, were not

disclosed to Plaintiff and were intentionally withheld from him in order to induce Plaintiff to make

payments on the loan; subordinate his interest in the Property; and for purposes of manufacturing

a foreclosure on an otherwise illegally unilaterally modified contract.

        28.     The change in essential character of the Note from what was represented to be a

residential mortgage loan to a commercial investment also involved the addition of one or more

third-party “servicers” which destroyed the direct relationship between Plaintiff and the true

“lender”. These facts, which were known at all times material to Defendants, were not disclosed

to Plaintiff and were intentionally withheld from him in order to induce Plaintiff to make payments

on the loan; subordinate his interest in the Property; and for purposes of manufacturing a

foreclosure on an otherwise illegally unilaterally modified contract.

        29.     The conversion of the Note from what was represented to be a residential mortgage

loan to a commercial investment, which was then pooled with thousands of other loans and placed

                                                   9
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 10 of 42 PageID: 10




into numerous tranches of a securitization trust together with other loans, resulted in the loan being

inextricably intertwined with other loans, resulted in a unilateral change of the character of the

Note, and resulted in a unilateral modification of the loan contract without mutual assent by or any

new consideration to Plaintiff, which facts were known at all times material to Defendants but

which were never consented to by Plaintiff; never disclosed to Plaintiff; and were intentionally

withheld from him in order to induce Plaintiff to make payments on the loan; subordinate his

interest in the Property; and for purposes of manufacturing a foreclosure on an otherwise illegally

unilaterally modified contract.

       30.     The loan disclosure documents given contain fraud due to failure to

consummate the agreements, lack of full disclosure, notary misconduct, and having unclear

concealed information and misrepresentations that hide relevant and material facts about the

terms and conditions of the loan transaction.

       31.     The Defendants did not disclose to the said borrower the disparate conditions

by which the funding of the allege-loan is done when comparing it with the conditions of a

loan according to the understanding of the least or unsophisticated consumer standard or a

reasonable consumer standard.

       32.     Here the Plaintiff is without full disclosure of the terms and conditions of the

loan at the time of the signing of the contract(s).

       33.     The disclosure violations and attempt at fraud by the Defendant(s) create and

give Plaintiff the right to claims for the mortgage and note subject to this transaction being


                                                 10
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 11 of 42 PageID: 11




null and void.

       34.       The Plaintiff is without consenting to the contract creating the allege-debt due

to being without full disclosure of the relevant terms and conditions of the funding of the loan.

       35.       In engaging in this use of the Plaintiff', then alleged borrowers', promissory

note to fund the loan the Defendant(s) created and carried out an "ultra viris" transaction,

outside of its lawful mandates, and lend its credit by guaranteeing the debts of another and/or

in any of the other various ways in which that might be done.

       36.       The Plaintiff was not given disclosure by the Defendant(s), that the allege-

borrower's promissory note is a collateral asset and is in use by the allege-creditor through

exchanging the promissory note for credit money to the allege-borrower's transaction account.

       37.       The Defendant(s) acted to or allowed the lender to misappropriate the allege-

borrower's name and likeness and promissory note, and use them without the borrower's

consent for commercial purposes because of the Defendants' failure to disclose all material

aspects of the transaction.

       38.       Defendant(s)'s non-disclosure of the true costs of a loan is in violation of

provisions of the Truth In Lending Act (TILA) and constitute false statements pursuant to the

aforesaid Fair Debt Collection Practices Act provisions.

       39.       Defendant(s) failure to assist and disclose the true costs of the loan is in

                                                11
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 12 of 42 PageID: 12




violation of TILA and common law contract plain language principles and Defendant(s)'s

agreement with the borrower, now Plaintiff.

       40.     Defendant(s) failure to assist and disclose the true costs of the loan is in

violation of equity undue influence and antifraud principles of law.

       41.     In breach of fiduciary duties and/or good contracting principles of law the

assignee Deutsche Bank National Trust Company As Indenture Trustee is responsible for

abuse of, or permitting the loan provider to abuse, the allege-borrower's name and likeness

and promissory note, and utilize them without the borrower/customer's consent for profitable

designs due to the Defendant's failure to divulge all relevant elements of the purchase.

       42.     This benefit to Defendant(s) and expense to Plaintiff of the loan, that is to say

promissory note, being in use to get the cash to fund the allege-loan is hidden from the allege-

borrower.

       43.     Here the damage created by the conduct of the Defendants surpass any

advantages that the conduct might have.

       44.     The purposes and intentions for the Defendants' absence of full disclosure is for

there to be a gain of unreasonable benefit to the aforesaid Defendant(s) and the alleged loan

provider that set up little to no cash at risk, yet, permit the loan provider to obtain benefit as

if the loan provider's exposure was that of one carrying out an authentic loan.

                                               12
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 13 of 42 PageID: 13




       45.     The Loan procedures and term "loan" were not totally revealed to the allege-

borrower and, for that reason, loan product terms and conditions of the agreement were not

disclosed to the Plaintiff/borrower, and that to his and her damage.

       46.     For this matter, in the mortgage and note documents there is no location for the

written stamp/trademark/signature line for the initial/original alleged loan provider to make

its mark and commitment to the agreement(s) and too satisfying the allege-lender's/ allege-

creditor's responsibilities charging the alleged original loan provider with the duty to finance

the deal with a "loan" according to an unsophisticated consumer standard understanding of

the plain language of the alleged agreement(s).

       47.     The claims of INDYMAC INDX MORTGAGE LOAN TRUST 2005-AR18 -

receiving mortgage asset filed by its subsidiary Defunct Corporation(s) and Deutsche Bank

National Trust Company to have rights to enforce a contract of agreement and foreclose is

also fabricated.

       48.     No such legitimate contract or agreement right or privilege exists based on

fabricated documents.

       49.     Prior to closing the original mortgage, Defendants, failed to explain the

workings of the entire mortgage loan transaction and the inherent volatility of the loan

product(s) provided by Defendants.

                                              13
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 14 of 42 PageID: 14




       50.     The Mortgage was recorded in Official Warren County Land Records, Warren

county, New Jersey, Recorder Office.

       51.     Despite Defendants' knowledge of the previous violations and damages caused

and the emotional distress it would cause against the Plaintiff initiated a foreclosure and

intends to sell Plaintiff's real property without just cause.

       52.     Here Plaintiff in a foreclosure process Defendants obtained Orders in their

favor, but which orders and judgments are void for fraud.

       53.     On such example is that there were two different notice of intent sent, mere

months apart, that included thousands of dollars of additional “fees/expenses” that were

“owed” in February, 2016, but mysteriously removed in April, 2016. (See Exhibits A and B

– Mismatched Notices of Intention to Foreclose).

       54.     When the Complaint was filed in August 10, 2016, it included neither of these

notices. (See Exhibit C – Complaint).

       55.      Ultimately however, this case was withdrawn on March 10, 2018. (see Exhibit

D – stipulation of dismissal).

       56.     This was only because Plaintiff signed a loan modification under duress,

knowing that Plaintiff has caused the improper actions that were taken, in order to save his

house from going to Foreclosure improperly.

                                                14
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 15 of 42 PageID: 15




       57.     The Plaintiff's goal of entering into mortgage loan transactions was to own the

Property; but that purpose is knowingly and intentionally thwarted by Defendant(s) for profit

and made extremely difficult by Defendants' actions alleged in complaint.

       58.     Further, the failures to duly record interest related to the subject property is

resulted in a broken chain of title, with the party(s) engaging in foreclosure and/or any planned

eviction actions without rights to do so.

       59.     The foreclosing and parties, debt collector, and agents buyer, etc. have engaged

in the use of all of these fabrications to lay claim on the subject property and are liable thereby.

       60.     Therefore, because of the above and below fatal issues and error the alleged

foreclosing party(s) and debt collector(s) in this matter have no legitimate rights to the property or

collection of a debt, yet the Plaintiff has legitimate possessory rights to the subject property.

       61.     Such equitable possessory rights in this matter should prevail.

       62.     Defendants were and are given due process warning that it is apparent that these

processes are flawed, erroneous, and without merit, suppressing or confusing or misrepresenting

critical information, and his actions are an apparent gross negligence or intentional violation of

rules and regulations set forth in the below claims.

       63.     Plaintiff relied upon the recitations about the loan and debt of both Defendants.

       64.     In utilizing incorrect details and hiding that truth from Plaintiff to develop the

loan, Defendants failed to satisfy his contract and contract/fiduciary duties to Plaintiff

damage.
                                                  15
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 16 of 42 PageID: 16




       65.     Defendants carried Plaintiff, Newton S. Duarte through the loan finalizing

procedures and concealed relevant information from the Plaintiff when finalizing. This led to a

loan that needs to not have actually been done. Resulting in foreclosure of the stated loans and

Plaintiff property.

       66.     Plaintiff has actually suffered, and remains to suffer significant damages and is

entitled to recuperate from Defendants real damages in the overall quantity of the loan, and

added damages, as a direct repercussion of Defendants' breach of contract and fiduciary

responsibilities.


                    COUNT ONE – ALL DEFENDANTS
    VIOLATIONS OF NEW JERSEY CIVIL RICO (N.J.S.A. 2C:41-1 ET SEQ.), and
  FEDERAL CIVIL RICO (18 USC §1962(C)); ACTIONABLE PURSUANT TO N.J.S.A.
                      2C:41-4C, and 18 USC § 1964(C);

       67.     The Plaintiff adopt the allegations set forth in the previous paragraphs as though

fully set forth herein by reference.

       68.     The Defendants designated in count one (1) constitute an “Enterprise” as defined

in N.J.S.A. 2C:41-1 et seq. and 18 U.S.C. §1961(4).

       69.     The enterprise and or enterprises have an existence apart from and beyond the

racketeering activity complained of in this action.

       70.     The Defendants designated in count one (1) violated the New Jersey and Federal

Civil RICO statutes by conducting or participating, directly or indirectly, in the conduct of the

affairs of an enterprise or enterprises, through a pattern of racketeering activity in violation of


                                                16
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 17 of 42 PageID: 17




N.J.S.A. 2C:41-2(c) and -2(d), and 18 U.S.C. §1962(c), as set forth within ¶¶1-58 as though fully

incorporated herein by reference.

        71.     The Defendants knew or should have known that his actions were based upon

forged and fraudulent documents in violation of the FDCPA including but not limited to Title 15

U.S.C. §1692 §§1692d(l), §1692e(2)(A), §1692e(3), §1692e(4), §1692e(5), §1692e(8),

§1692e(l0), §1692e(l3) and §1692f(l).

        72.     The acts by the Defendants designated in count one (1) constituted a pattern of

racketeering activity that has continued and escalated as stated above.

        73.     The acts by the defendants designated in count one (1) constituted prohibited

activities in violation of N.J.S.A. 2C:41-2 and 18 U.S.C. §1962(c) for the Defendants have

received income derived, directly or indirectly, from a pattern of racketeering activity or through

collection of an unlawful debt in which they have participated as a principal within the meaning

of N.J.S.A 2C:2-6 and 18 U.S.C. §1961(6) to use or invest, directly or indirectly, any part of the

income, or the proceeds of the income, in acquisition of any interest in, or the establishment or

operation of any enterprise which is engaged in or the activities of which affect trade or commerce.

        74.     The acts by the Defendants constituted deceptive business practices in violation of

N.J.S.A. 2C:21-7 for the Defendants made false or misleading written statements for the purpose

of obtaining property, and false or misleading written statements for the purpose of promoting the

sale of securities, and omitted information required by law to be disclosed in written documents

relating to securities.

        75.     The acts by the Defendants constituted tampering with or fabricating physical

evidence in violation of N.J.S.A. 2C:28-6 for the defendants altered and or concealed records,

                                                17
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 18 of 42 PageID: 18




documents, or other things of physical substance with purpose to impair its verity or availability

in such proceedings or investigations; and the defendants made, devised, prepared, presented,

offered or used articles, objects, records, documents or other things of physical substance knowing

them to be false and with purpose to mislead a public servant who is engaged in such proceeding

or investigation.

       76.     The acts by the Defendants constituted tampering with public records or

information in violation of N.J.S.A. 2C:28-7 for the defendants knowingly made a false entry in,

or false alteration of, any record, document or thing received or kept by, the government for

information or record, and the Defendants made, presented, offered for filing, or used a record,

document or thing knowing it to be false, and with purpose that it be taken as a genuine part of

information or records.

       77.     The acts by Defendants WFB constituted frauds relating to public records and

recordable instruments in violation of N.J.S.A. 2C:21-3 for the defendants offered a false

instrument for filing, knowing the written instrument contains a false statement or false

information, and offered or presented it to a public office or public servant with knowledge or

belief that it will be filed with, registered or recorded in or otherwise become a part of the records

of such public office or public servant.

       78.     The acts by the Defendants constituted securing execution of documents by

deception in violation of N.J.S.A. 2C:21-16 for the Defendants caused or induced the Plaintiff to

execute instruments affecting, purporting to affect, or likely to affect the pecuniary interest of the

Plaintiff by means of deception as to the contents of the instruments.

       79.     The acts by the Defendants constituted knowledge inferred in violation of N.J.S.A.

                                                 18
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 19 of 42 PageID: 19




2C:21-26 for the defendants transported or possessed the Plaintiff’ property in a fashion

inconsistent with the ordinary or usual means of transportation or possession of such property and

where the property is discovered in the absence of any documentation or other indicia of legitimate

origin or right to such property.

       80.     The acts by the Defendants constituted conspiracy in violation of N.J.S.A. 2C:5-2

for the defendants agreed with each other, and or other persons, that they or one or more of them

will engage in conduct which constituted such crime, and or they agreed to aid such other person

or persons in the planning or commission of such crime or of an attempt or solicitation to commit

such crime.

       81.     The acts by the Defendants constituted forgery in violation of N.J.S.A. 2C:21-1 for

the defendants, with purpose to defraud or injure the Plaintiff, with knowledge that they were

facilitating a fraud or injury, they: (1) Altered and or changed instruments of another without his

authorization; (2) made, completed, executed, authenticated, issued or transferred writings so that

it purports to be the act of another who did not authorize that act or of a fictitious person, or to

have been executed at a time or place or in a numbered sequence other than was in fact the case,

or to be a copy of an original when no such original existed; or (3) utilized writings which they

knew to be forged in a manner specified above.

       82.     The acts by the Defendants constituted impersonation and identity theft in violation

of N.J.S.A. 2C:21-17 for the defendants obtained personal identifying information pertaining to

the Plaintiff and used that information, or assisted another person in using the information, in order

to assume the identity of or represent themselves as the Plaintiff, without that Plaintiff’

authorization and with the purpose to fraudulently obtain or attempt to obtain a benefit or services

                                                 19
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 20 of 42 PageID: 20




by using the name of Plaintiff.

       83.     The acts by the Defendants constituted mail fraud in violation of 18 U.S.C. §1341

for the defendants devised a scheme to defraud, obtain money, or the subject property by means

of false or fraudulent pretenses, representations, or promises, to sell, dispose of, loan, exchange,

alter, give away, distribute, supply, or furnish or procure for unlawful use counterfeit obligations,

securities, for the purpose of executing such scheme or artifice, placed in post offices or authorized

depository for mail matter, to be sent or delivered by the Postal Service, deposited, or caused to be

deposited, to be sent or delivered by private or commercial interstate carrier, or knowingly caused

to be delivered by mail or such carrier.

       84.     The acts by the Defendants constituted fictitious name in violation of 18 U.S.C.

§1342 for the defendants, for the purpose of conducting, promoting, or carrying on by means of

the Postal Service, any scheme or device mentioned in 18 U.S.C. §1341, or any other unlawful

business, used or assumed, or requested others to be addressed by, fictitious, false, or assumed

titles, or names, other than his own proper name.

       85.     The acts by the Defendants constituted wire fraud in violation of 18 U.S.C. §1343

for the defendants devised or intended to devise a scheme or artifice to defraud, for obtaining

money or property by means of false or fraudulent pretenses, representations, or promises,

transmitted by means of wire in interstate commerce, writings for the purpose of executing such

scheme or artifice.

       86.     The acts by the Defendants constituted transportation of stolen goods, securities,

moneys, and or articles used in counterfeiting in violation of 18 U.S.C. §2314 for the defendants

transported, transmitted, or transferred in interstate commerce, securities of the value of $5,000.00

                                                 20
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 21 of 42 PageID: 21




or more, knowing the same to have been stolen, converted or taken by fraud, and devised a scheme

or artifice to defraud, for obtaining money or property from the Plaintiff by means of false or

fraudulent pretenses, representations, or promises, transported or caused to be transported

interstate in the execution or concealment of a scheme or artifice to defraud the Plaintiff of money

or property having a value of $5,000.00 or more, with unlawful or fraudulent intent, transported in

interstate commerce falsely made, forged, altered, or counterfeited securities knowing the same to

have been falsely made, forged, altered, or counterfeited.

       87.     The acts by the Defendants constituted interference with commerce by threats or

violence in violation of 18 U.S.C. § 1951 for the defendants have: (a) obstructed, delayed, or

affected commerce by robbery or extortion or attempted or conspired so to do, or committed or

threatened physical removal of Plaintiff from the subject property, and the taking of the subject

property under color of official right.

       88.     The acts by the Defendants constituted misprision of felony in violation of 18

U.S.C. § 4 for the defendants had knowledge of the actual commission of a felony cognizable by

a court of the United States, and concealed said knowledge, and did not as soon as possible make

known the same to some judge or other person in civil or authority under the United States.

       89.     The acts by the Defendants constituted bankruptcy fraud in violation of 18 U.S.C.

§157 for the Defendants devised a scheme or artifice to defraud and for the purpose of executing

or concealing such a scheme or artifice or attempting to do so, the Defendants filed falsely uttered

documents in the Plaintiff’ proceeding under title 11, and the Defendants made false or fraudulent

representations, and claims in relation to the Plaintiff’ proceeding under title 11.

       90.     The acts by Defendants constituted concealment of assets, false oaths and claims in

                                                 21
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 22 of 42 PageID: 22




violation of 18 U.S.C. §152 for the Defendants (1) knowingly and fraudulently concealed from the

trustee and this Court, the existence and location of property belonging to the estate of a debtor;

(2) knowingly and fraudulently made false oaths or accounts in or in relation to the Plaintiff’ case

under title 11; (3) knowingly and fraudulently made false declarations, certificates, verifications,

or statements under penalty of perjury as permitted under § 1746 of title 28, in relation to the

Plaintiff’ case under title 11; and (4) knowingly and fraudulently presented false claims for proof

against the Plaintiff, and used such claim in the Plaintiff’ case under title 11, in a personal capacity

or as or through an agent, proxy, or attorney.

         91.    The acts by the Defendants constituted alteration and falsification of records in

bankruptcy in violation of 18 U.S.C. §1519 for the Defendants knowingly altered, concealed,

covered up, falsified, and made false entries of record and documents, with the intent to impede,

obstruct, or influence the investigation or proper administration of any matter within the

jurisdiction of the Plaintiff’ case filed under title 11.

         92.    The acts by the Defendants constituted conspiracy against rights in violation of 18

U.S.C. §241 for the defendants conspired to injure, oppress, threaten, or intimidate the Plaintiff in

the free exercise or enjoyment of rights or privilege secured to Plaintiff by the Constitution and

laws of the United States, including but not limited to: (i) the right to contract; (ii) the right to own,

maintain, and be secure in Plaintiff’ property right from unlawful seizures; and (iii) to be free of

usury.

         93.    The Plaintiff avers that the aforementioned acts on the part of the defendants were

intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice, performed

under color of law, without regard to the damage that these acts might cause the cross-Plaintiff.

                                                   22
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 23 of 42 PageID: 23




       94.     The acts by the Defendants violates N.J.S.A. 2C:41-1 et seq. and 18 USC §1962(c)),

and has caused injury to the Plaintiff as contemplated by N.J.S.A. 2C:41-4c, and 18 USC § 1964(c),

in actual damages of emotional distress, loss of monies paid by the Plaintiff towards a fraud in

factum “mortgage transaction”, and other costs to defend the Plaintiff’ property.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

               a.      Awarding Plaintiff actual damages against Defendants;
               b.      Awarding Plaintiff damages for emotional distress against Defendants;
               c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.      Awarding Plaintiff punitive damages against Defendants;
               e.      Awarding Plaintiff treble damages against Defendants
               f.      Imposing any other appropriate monetary sanctions against Defendants; and
               g.      Any other relief that this Court deems just and proper.

                    COUNT TWO – ALL DEFENDANTS
   VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT (N.J.S.A. 56:8-2);
               ACTIONABLE PURSUANT TO N.J.S.A. 56:8-19;

       95.     The Plaintiff adopt the allegations set forth in the previous paragraphs as though

fully set forth herein by reference.

       96.     The Defendants designated in Count Two have each used or caused to be employed

by other persons unconscionable commercial practices, deception, fraud, false pretenses, false

promises, misrepresentations, and knowingly concealed, suppressed, and omitted material facts

with intent that the Plaintiff rely upon such concealment, suppression or omission, in connection

with the “origination” of the “mortgage transaction’ in dispute.

       97.     The Plaintiff avers the unfair, deceptive, and unlawful practices by the Defendants

                                                23
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 24 of 42 PageID: 24




misled and deceived Plaintiff, resulting in damages thereby, constituting unlawful practices in

violation of N.J.S.A. 56:8-2, and has caused injury to Plaintiff as contemplated by N.J.S.A. 56:8-

19 in actual damages of emotional distress, loss of monies paid towards a fraud in factum

“mortgage transaction”, and other costs to defend the Plaintiff’ property and reputation.

       98.     At all times relevant and material hereto, if Defendants did own the debt as alleged,

then the Plaintiff was a consumer of the Defendants goods and services and as such the conduct of

the Defendants and the transaction was governed by the New Jersey Consumer Fraud Act N.J.S.

A. 56:8-1 et seq.

       99.     At all times relevant and material hereto the Defendants did violate the New Jersey

Consumer Fraud Act by engaging in deceptive and fraudulent practices as stated above.

       100.    The responses sent to Plaintiff to the QWR that were sent on or about July 24, 2017

a violation of The False Claims Act 31 U.S.C. §§ 3729 - 3733, as in case Gonzalez v. Wilshire

Credit Corp., Supreme Court of New Jersey, August 29, 2011, A-99 September Term 2009,

065564 that held:

               “Lending institutions and his servicing agents are not immune from New

               Jersey's Consumer Fraud Act, N.J.S.A. §§ 56:8-1 to 56:8-195; they cannot

               prey on the unsophisticated, those with no bargaining power, those bowed

               down by a foreclosure judgment and desperate to keep his homes under

               seemingly any circumstances.” (See Exhibit E – QWR responses).

       101.    In Cox v. Sears Roebuck, September 15, 1994 138 N.J. 2 A-123 September term

1993.” the NJ Supreme Court held: “The amendment to the Consumer Fraud Act, N.J. Stat. Ann.



                                                24
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 25 of 42 PageID: 25




§§ 56:8-1 to 20, provides for private causes of action, with an award of treble damages, attorneys'

fees, and costs.”

        102.    Upon “strict scrutiny” application, the Court would be compelled to protect

Plaintiff against blatant fraud being perpetrated upon Defendants as well as the Court under the

“color of law”. To do otherwise would be a travesty of justice.

        103.    “Like most remedial legislation, the Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8-

1 to 20, should be construed liberally in favor of consumers.”

        104.    “An improper debt or lien against a consumer fraud Plaintiff may constitute a loss

under the Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8-1 to 20, (the Act) because the consumer is

not obligated to pay an indebtedness arising out of conduct that violates the Act.”

        105.    The judgment was reversed and remanded to trial court with treble the damages.

        106.    The actions of the Defendants, individually and/or jointly, were performed in direct

contradiction to his promises of superior services and conduct, but instead for his own financial

self-interests, in detriment to the rights and position of the Plaintiff.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

                a.      Awarding Plaintiff actual damages against Defendants;
                b.      Awarding Plaintiff damages for emotional distress against Defendants;
                c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
                d.      Awarding Plaintiff punitive damages against Defendants;
                e.      Awarding Plaintiff treble damages against Defendants;
                f.      Imposing any other appropriate monetary sanctions against Defendants; and
                g.      Any other relief that this Court deems just and proper.



                                                   25
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 26 of 42 PageID: 26




                    COUNT THREE – ALL DEFENDANTS
  FEDERAL FAIR DEBT COLLECTION PRACTICES ACT PURSUANT TO 15 U.S.C.
            §1692; ACTIONABLE PURSUANT TO 15 U.S.C. §1692K;

       98.     The Plaintiff adopt the allegations set forth in the previous paragraphs as though

fully set forth herein by reference.

       99.     The Defendants designated in Count Three have each acted in the capacity of debt

collectors as defined by the Federal FDCPA for none of the Defendants have evidence of being a

creditor for the “mortgage loan” in dispute, and each Defendants have: (i) made false

representations of the character, amount, and legal status of the debt in dispute, and the services

rendered or compensation which may be lawfully received by the defendants as debt collectors for

the collection of the debt in dispute; (ii) made the representation or implication that nonpayment

of the debt in dispute will result in the sale of the subject property; and (iii) used false

representations and deceptive means to collect or attempt to collect the debt in dispute by willfully

misrepresenting Defendants the “owners and holders” of the debt in dispute knowing otherwise to

be true.

       100.    The Plaintiff aver that the unlawful debt collection practices by the Defendants

constituted false and misleading representations in violation of the Federal FDCPA and has caused

injury to the Plaintiff as contemplated by 15 U.S.C. §1692 et seq., in actual damages of emotional

distress, loss of monies paid by the Plaintiff towards a fraud in factum debt, and other costs to

defend the Plaintiff’ property and reputation.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

                                                 26
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 27 of 42 PageID: 27




               a.      Awarding Plaintiff actual damages against Defendants;
               b.      Awarding Plaintiff damages for emotional distress against Defendants;
               c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.      Awarding Plaintiff punitive damages against Defendants;
               e.      Imposing any other appropriate monetary sanctions against Defendants; and
               f.      Any other relief that this Court deems just and proper.

                             COUNT FOUR – ALL DEFENDANTS
                                 UNJUST ENRICHMENT

       102.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

fully set forth herein by reference.

       103.    In establishing a claim for unjust enrichment, "a Plaintiff must show both that

Defendants received a benefit and that retention of that benefit without payment would be unjust."

VRG Corp. v. GKN Realty Corp., 135 NJ. 539, 554 (1994).

       104.    As a result of its misrepresentations, Defendants have been unjustly enriched at the

expense of the Plaintiff.

       105.    It is clear that Defendants, either through intentional actions or gross negligence,

attempted to gained possession of Plaintiff’s house through an unlawful Sheriff sale as well as

adding in thousands of dollars of additional fees to increase the principal plaintiff now owes as

part of his loan modification received under duress.

       106.    Accordingly, Defendants received a benefit, unjustly.

       107.    The Plaintiff asserts the aforementioned acts on the part of the defendants were

intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice, performed

under color of law, without regard to the damage that these acts might cause the Plaintiff.

                                       PRAYER FOR RELIEF



                                                27
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 28 of 42 PageID: 28




       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

               a.      Awarding Plaintiff actual damages against Defendants;
               b.      Awarding Plaintiff damages for emotional distress against Defendants;
               c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.      Awarding Plaintiff punitive damages against Defendants;
               e.      Imposing any other appropriate monetary sanctions against Defendants; and
               f.      Any other relief that this Court deems just and proper.

                             COUNT FIVE -ALL DEFENDANTS
                            NEGLIGENT MISREPRESENTATION

       114.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

fully set forth herein by reference.

       115.    The Defendants have each made negligent and false representations as to the

character, legality, ownership, and possession of the “mortgage transaction” in dispute; without

any reasonable ground for believing his representations to be true, with the intent to induce the

Plaintiff into believing the Defendants’ representations, causing the Plaintiff to act upon as the

Defendants’ desires, and causing injury to the Plaintiff in actual damages of emotional distress,

loss of monies paid by the Plaintiff towards a fraud in factum “mortgage transaction”, and other

costs to defend the Plaintiff’ property and reputation.

       116.    The Plaintiff asserts the aforementioned acts on the part of the defendants were

intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice, performed

under color of law, without regard to the damage that these acts might cause the Plaintiff.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

                                                 28
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 29 of 42 PageID: 29




               a.      Awarding Plaintiff actual damages against Defendants;
               b.      Awarding Plaintiff damages for emotional distress against Defendants;
               c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.      Awarding Plaintiff punitive damages against Defendants;
               e.      Imposing any other appropriate monetary sanctions against Defendants; and
               f.      Any other relief that this Court deems just and proper.



                              COUNT SIX – ALL DEFENDANTS
                                   UNCLEAN HANDS

       117.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

fully set forth herein by reference.

       118.    Application of the doctrine of unclean hands rests within the discretion of the trial

court. Heuer v. Heuer, 152 N.J. 226, 238 (1998).

       119.    “The essence of [the] doctrine . . . is that ‘[a] suitor in equity must come into court

with clean hands and he must keep them clean after his entry and throughout the proceedings.'”

Borough of Princeton v. Bd. of Chosen Freeholders of Mercer, 169 N.J. 135, 158 (2001) (quoting

A. Hollander & Son, Inc. v. Imperial Fur Blending Corp., 2 N.J. 235, 246 (1949)).

       120.     The doctrine of unclean hands “‘gives expression to the equitable principle that a

court should not grant relief to one who is a wrongdoer with respect to the subject matter in suit.'”

Ibid. (quoting Faustin v. Lewis, 85 N.J. 507, 511 (1981)).

       121.    In this case, Defendants have clearly violated this doctrine and as such, Plaintiff are

entitled to damages for those actions.


       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

               a.      Awarding Plaintiff actual damages against Defendants;
                                               29
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 30 of 42 PageID: 30




               g.      Awarding Plaintiff damages for emotional distress against Defendants;
               h.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
               i.      Awarding Plaintiff punitive damages against Defendants;
               j.      Imposing any other appropriate monetary sanctions against Defendants; and
               k.      Any other relief that this Court deems just and proper.




                             COUNT SEVEN -ALL DEFENDANTS
                              FRAUDULENT CONCEALMENT


       122.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

fully set forth herein by reference.

        123. The Defendants to Count Seven have each fraudulently concealed from the

Plaintiff: (i) material facts underlying the character, legality, ownership, and possession of the

“mortgage transaction” in dispute, (ii) with knowledge of the material facts, knowing material facts

were not within reasonably diligent attention, observation, and judgment of the Plaintiff, (iii) while

the defendants suppressed and or concealed the material facts with the intention that the Plaintiff

be misled as to the character, legality, ownership, and possession of the “mortgage transaction” in

dispute, (iv) the Plaintiff was reasonably so misled; and (v) causing injury to the Plaintiff in actual

damages of emotional distress, loss of monies paid by the Plaintiff towards a fraud in factum

“mortgage transaction”, and other costs to defend the Plaintiff; property and reputation.

        124. The Plaintiff asserts the aforementioned acts on the part of the defendants were

intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice, performed

under color of law, without regard to the damage that these acts might cause the Plaintiff.

                                       PRAYER FOR RELIEF


                                                  30
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 31 of 42 PageID: 31




       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

               a.      Awarding Plaintiff actual damages against Defendants;
               b.      Awarding Plaintiff damages for emotional distress against Defendants;
               c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.      Awarding Plaintiff punitive damages against Defendants;
               e.      Imposing any other appropriate monetary sanctions against Defendants; and
               f.      Any other relief that this Court deems just and proper.


                            COUNT EIGHT – ALL DEFENDANTS
                                CONSTRUCTIVE FRAUD

       125.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

       fully set forth herein by reference.

       126.    The Defendants to Count Eight have each: (i) made false representations, (ii) as to

       the character, legality, ownership, and possession of the “mortgage transaction” in dispute,

       (iii) for the purpose of inducing the Plaintiff to reply on such representations, (iv) for which

       the Plaintiff justifiably relied, and (v) caused injury to the Plaintiff in actual damages of

       emotional distress, loss of monies paid by the Plaintiff towards a fraud in factum “mortgage

       transaction”, and other costs to defend the Plaintiff’ property and reputation.

       127.    The Plaintiff asserts the aforementioned acts on the part of the defendants were

       intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice,

       performed under color of law, without regard to the damage that these acts might cause the

       Plaintiff.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:
                                                 31
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 32 of 42 PageID: 32




              a.     Awarding Plaintiff actual damages against Defendants;
              b.     Awarding Plaintiff damages for emotional distress against Defendants;
              c.     Awarding Plaintiff attorneys’ fees and costs against Defendants;
              d.     Awarding Plaintiff punitive damages against Defendants;
              e.     Imposing any other appropriate monetary sanctions against Defendants; and
              f.     Any other relief that this Court deems just and proper.


                          COUNT NINE – ALL DEFENDANTS
                         CIVIL AIDING and ABETTING FRAUD

      128.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

      fully set forth herein by reference.

      129.    The Defendants to Count Ten have aided and abetted the unfair, deceptive, and

      unlawful practices engaged in by each Defendants as a collective effort to unlawfully

      procure monies from the Plaintiff under the duress of an unlawful foreclosure debt

      collection action by employing false evidence to conceal from the Plaintiff, State Court,

      and this Court the true character, legality, ownership, and possession of the “mortgage

      transaction” in dispute.

      130.    The Plaintiff asserts the aforementioned acts on the part of the defendants were

      intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice,

      performed under color of law, without regard to the damage that these acts might cause the

      Plaintiff.

      131.    Defendants have caused injury to the Plaintiff in actual damages of emotional

      distress, loss of monies paid by the Plaintiff towards a fraud in factum “mortgage

      transaction”, and other costs to defend the Plaintiff’ property and reputation.

                                   PRAYER FOR RELIEF


                                               32
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 33 of 42 PageID: 33




       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

              a.      Awarding Plaintiff actual damages against Defendants;
              b.      Awarding Plaintiff damages for emotional distress against Defendants;
              c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
              d.      Awarding Plaintiff punitive damages against Defendants;
              e.      Imposing any other appropriate monetary sanctions against Defendants; and
              f.      Any other relief that this Court deems just and proper.

                         COUNT TEN – ALL DEFENDANTS
                    WILLFUL AND WANTON GROSS NEGLIGENCE

       132.   The Plaintiff adopt the allegations set forth in the previous paragraphs as though

       fully set forth herein by reference.

       133.   The Defendants to Count Ten have engaged in willful and wanton unfair, deceptive,

       and unlawful practices as a collective effort to unlawfully procure monies from the Plaintiff

       under the duress of an unlawful foreclosure debt collection action by employing false

       evidence to conceal from the Plaintiff, State Court, and this Court the true character,

       legality, ownership, and possession of the “mortgage transaction” in dispute.

       134.   The Plaintiff assert the aforementioned acts on the part of the Defendants were

       intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice,

       performed under color of law, without regard to the damage that these acts might cause the

       Plaintiff, and has caused injury to the Plaintiff in actual damages of emotional distress, loss

       of monies paid by the Plaintiff towards a fraud in factum “mortgage transaction”, and other

       costs to defend the Plaintiff’ property and reputation.

       135.   The Plaintiff asserts the aforementioned acts on the part of the defendants were

       intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice,

                                                 33
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 34 of 42 PageID: 34




       performed under color of law, without regard to the damage that these acts might cause the

       Plaintiff.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

               a.     Awarding Plaintiff actual damages against Defendants;
               b.     Awarding Plaintiff damages for emotional distress against Defendants;
               c.     Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.     Awarding Plaintiff punitive damages against Defendants;
               e.     Imposing any other appropriate monetary sanctions against Defendants; and
               f.     Any other relief that this Court deems just and proper.


                          COUNT ELEVEN – ALL DEFENDANTS
                           CIVIL CONSPIRACY TO DEFRAUD

       136.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

       fully set forth herein by reference.

       137.    The Plaintiff assert the aforementioned acts on the part of the Defendants were

       intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice,

       performed under color of law, without regard to the damage that these acts might cause the

       Plaintiff,

       138.    Defendants have caused injury to the Plaintiff in actual damages of emotional

       distress, loss of monies paid by the Plaintiff towards a fraud in factum “mortgage

       transaction”, and other costs to defend the Plaintiff’ property and reputation.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:
                                                34
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 35 of 42 PageID: 35




             a.      Awarding Plaintiff actual damages against Defendants;
             b.      Awarding Plaintiff damages for emotional distress against Defendants;
             c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
             d.      Awarding Plaintiff punitive damages against Defendants;
             e.      Imposing any other appropriate monetary sanctions against Defendants; and
             f.      Any other relief that this Court deems just and proper.


                            COUNT TWELVE – DEFENDANTS
                              UNLAWFUL CONVERSION

      139.   The Plaintiff adopt the allegations set forth in the previous paragraphs as though

      fully set forth herein by reference.

      140.   The Defendants to Count Twelve used false pretenses to fraudulently induce

      Plaintiff into executing the fraud in factum “transaction” in dispute by: (i) misrepresenting

      that WFB was the lender while, simultaneously, omitting the third-party funding source to

      whom WFB was indebted, and the actual money source was omitted from the critical

      documents signed by the Plaintiff; (ii) misrepresenting the undertaking as a traditional

      residential “mortgage loan”, while concealing and omitting from the Plaintiff that the

      transaction was actually a securities transaction; and (iii) creating Mortgage Backed

      Securities by pledging the aforementioned forged and stolen electronic note.

      141.   Furthermore, the Defendants hereto each unlawfully converted the original terms

      and conditions set forth within the original “mortgage loan” in disputed upon unjustly

      creating an escrow account for property taxes and hazard insurance premiums when each

      agreement, from his inceptions, required only installments of principal and interest.

      142.   The Plaintiff assert the aforementioned acts on the part of the Defendants were

      intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice,

      performed under color of law, without regard to the damage that these acts might cause the
                                              35
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 36 of 42 PageID: 36




       Plaintiff, and has caused injury to the Plaintiff in actual damages of emotional distress, loss

       of monies paid by the Plaintiff towards a fraud in factum “mortgage transaction”, and other

       costs to defend the Plaintiff’ property and reputation.

       143.     The Plaintiff asserts the aforementioned acts on the part of the defendants were

       intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice,

       performed under color of law, without regard to the damage that these acts might cause the

       Plaintiff.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

               a.     Awarding Plaintiff actual damages against Defendants;
               b.     Awarding Plaintiff damages for emotional distress against Defendants;
               c.     Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.     Awarding Plaintiff punitive damages against Defendants;
               e.     Imposing any other appropriate monetary sanctions against Defendants; and
               f.     Any other relief that this Court deems just and proper.


                          COUNT THIRTEEN – ALL DEFENDANTS
                               BREACH OF CONTRACT

       144.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

       fully set forth herein by reference.

       145.    At all times relevant and material hereto the Defendants did breach the contractual

       terms of the original “mortgage loan” agreement in deceptive and fraudulent practices as

       hereinbefore set forth.

       146.    To establish negligence under New Jersey law, a plain- tiff must prove four core

       elements: (1) a duty of care; (2) a breach of that duty; (3) proximate cause; and (4) actual
                                                36
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 37 of 42 PageID: 37




       damages. Polzo v. County of Essex, 960 A.2d 375, 196 N.J. 569, 584 (2008).

       147.    Defendants all had a duty of care towards Plaintiff in this matter and they breached

       that duty of care with the aforementioned actions.

       148.    The conduct of Defendants was a direct and proximate cause, as well as a

       substantial factor, in bringing about the serious injuries, damages, and harm to Plaintiff that

       are outlined more fully above and, as a result, Defendants are liable to compensate Plaintiff

       for the full amount of actual, compensatory, and punitive damages, as well as other such

       relief, as permitted by law.

       149.    Plaintiff seeks actual and compensatory damages for particular material, economic

       or financial losses suffered directly by his as the proximate result of the injury.

       150.    The Plaintiff asserts the aforementioned acts on the part of the defendants were

       intentional, willful, deliberate, wanton, reckless, actuated with forethought and malice,

       performed under color of law, without regard to the damage that these acts might cause the

       Plaintiff.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff request that this Court enter judgment in his favor and against

Defendants, as follows:

               a.     Awarding Plaintiff actual damages against Defendants;
               b.     Awarding Plaintiff damages for emotional distress against Defendants;
               c.     Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.     Awarding Plaintiff punitive damages against Defendants;
               e.     Imposing any other appropriate monetary sanctions against Defendants; and
               f.     Any other relief that this Court deems just and proper


                          COUNT FOURTEEN – ALL DEFENDANTS
                                   DEFAMATION
                                        37
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 38 of 42 PageID: 38




      151.    The Plaintiff adopt the allegations set forth in the previous paragraphs as though

      fully set forth herein by reference.

      152.    At all times relevant herein, Defendants have published statements both orally and

      through writing to various credit reporting agencies, collection agencies, and/or attorneys

      that are false and negative representations concerning Plaintiff’s credit information and

      history.

      153.    At a minimum, Defendants have published these statements each time Plaintiff has

      reached out to Defendants and each time other credit reporting agencies reached out to

      Defendants and each time a credit reporting agency has reinvestigated any dispute raised

      by Plaintiff, including but not limited to, the disputes identified herein.

      154.    The statements made by Defendants are false, as Plaintiff never actually defaulted

      on any debt that she allegedly owed to Defendants.

      155.    Defendants have published these statements to a number of credit reporting

      agencies, including the three major credit bureaus.

      156.    Defendants knew, or should have known, that the statements that it made were false

      when made and that it had no factual basis for making the statements that it did, as Plaintiff

      had notified Defendants that the statements were false for the aforementioned reasons and,

      nevertheless, Defendants continue to publish such statements up to and through the present

      time.

      157.    The written statements and publications are libel per se.

      158.    The oral statements and publications are slander per se.


                                                38
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 39 of 42 PageID: 39




       159.   In addition, and despite the repeated notices from Plaintiff, Defendants have acted

       with malice by failing to communicate the information provided to it by Plaintiff to credit

       reporting agencies when responding to the reinvestigation attempts of such credit reporting

       agencies.

       160.   The conduct of Defendants was a direct and proximate cause, as well as a

       substantial factor, in bringing about the serious injuries, damages, and harm to Plaintiff that

       are outlined more fully above and, as a result, Defendants are liable to compensate Plaintiff

       for the full amount of actual, compensatory, and punitive damages, as well as other such

       relief, as permitted by law.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court enter judgment in his favor and against

Defendants, as follows:

              a.      Awarding Plaintiff actual damages against Defendants;
              b.      Awarding Plaintiff damages for emotional distress against Defendants;
              c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
              d.      Imposing any other appropriate monetary sanctions against Defendants; and
              e.      Any other relief that this Court deems just and proper.


                          COUNT FIFTEEN – ALL DEFENDANTS
                           VIOLATION OF TILA AND RESPA

        161. The Plaintiff adopt the allegations set forth in the previous paragraphs as though

        fully set forth herein by reference.

        162. Defendants WFB willfully omitted and concealed from the Plaintiff from the

        inception of the “mortgage loan” in dispute that the Defendants was being compensated

        by a third-party financier for WFB “originating” the “mortgage loan” in dispute in the

                                                 39
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 40 of 42 PageID: 40




        Defendants’ name as the lender, while WFB simultaneously collected fees from Plaintiff

        in violation of 15 U.S.C. § 1639b(c).

        163. The Defendants, collectively, failed to either reply with complete responses, they

        failed to reply at all, and or they replied with false responses to the Plaintiff’ Qualified

        Written Requests, constituting violations of 12 U.S.C. § 2605, et seq..

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court enter judgment in his favor and against

Defendants, as follows:

              a.      Awarding Plaintiff any and all damages against Defendants allowable by
                      law;
              b.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
              c.      Imposing any other appropriate monetary sanctions against Defendants; and
              d.      Any other relief that this Court deems just and proper.


                          COUNT SIXTEEN – ALL DEFENDANTS
                                    QUIET TITLE

       164.   The Plaintiff adopt the allegations set forth in the previous paragraphs as though

       fully set forth herein by reference.

       165.   N.J.S.A. 2A:62-1 permits a person “in the peaceable possession of lands” to bring

       an action to “clear up all doubts and disputes” concerning some other person’s claim to “a

       lien or encumbrance thereon.”

       166.   There is a dispute as to whether any of the Defendants are legally entitled and

       parties in possession of the original paper note and mortgage in dispute, the legality of the

       transaction from which the instruments derive, and whether any of the Defendants have



                                                40
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 41 of 42 PageID: 41




       any right or interest in the property based upon his purported rights and possession of fraud

       in factum instruments.

       167.    Plaintiff seek clarification of the validity or reach of his title in circumstances that

       otherwise preclude a forum for the resolution of such a dispute, pursuant to N.J.S.A. 1A:62-

       1.

       168.    At all times relevant hereto, Defendants and other entities related to Defendants

       have claimed an interest and/or estate in the Property adverse to Plaintiff.

       169.    Specifically, Defendants allege and/or have alleged that they have some kind of

       underlying interest in the Property upon Defendants’ reliance upon the aforementioned

       forged, falsely acknowledged, and void ab initio instruments of record starting with the

       falsely made and fraud in factum “security instrument” in dispute that was recorded.

       170.    Plaintiff, therefore, alleges that, upon information and belief, none of the

       Defendants herein hold a perfected and/or secured interest and/or claim in the Property

       and, as such, Defendants are estopped and precluded from asserting any claim against

       Plaintiff’ estate.

       171.    There is currently no other forum for an adjudication of the dispute herein and there

       are no other adequate remedies at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court enter judgment in his favor and against

Defendants, as follows:

               a.      Awarding Plaintiff actual damages against Defendants;
               b.      Awarding Plaintiff damages for emotional distress against Defendants;
               c.      Awarding Plaintiff attorneys’ fees and costs against Defendants;
               d.      Awarding Plaintiff punitive damages against Defendants;
                                                41
Case 3:19-cv-10418-BRM-ZNQ Document 1 Filed 04/19/19 Page 42 of 42 PageID: 42




            e.    Imposing any other appropriate monetary sanctions against Defendants; and
            f.    Any other relief that this Court deems just and proper.


                                               __/s/ Joshua Thomas, Esq._____________
                                               Joshua Thomas, Esq.
                                               Attorneys for Plaintiff,

Dated:




                                          42
